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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

KEITH REDDICK,                      )
                                    )
     Plaintiff,                     )
                                    )
     v.                             )              CASE NO. 2:19-cv-512-JTA
                                    )                 (WO)
CAPOUANO, BECKMAN, RUSSELL )
& BURNETT, LLC, a Limited Liability )
Company,                            )
                                    )
     Defendant.                     )

                                       ORDER

       Upon consideration of the opinion of the United States Court of Appeals for the

Eleventh Circuit entered on October 29, 2021 (Doc. No. 61), wherein the final judgment

of this court made and entered herein on March 18, 2021 (Doc. No. 53), was in all respects

affirmed; and the mandate of the United States Court of Appeals for the Eleventh Circuit

issued on October 29, 2021, and received in the office of the clerk of this court on

November 29, 2021 (Doc. No. 62), it is the ORDER, JUDGMENT, and DECREE of the

court that the final judgment of this court made and entered on March 18, 2021 (Doc. No.

53), is continued in full force and effect.

       DONE this 3rd day of December, 2021.


                                              ______________________________________
                                              JERUSHA T. ADAMS
                                              UNITED STATES MAGISTRATE JUDGE
